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                            IN TH E U NITED STAT ES D ISTRICT CO U RT

                            FO R TH E W ESTERN D ISTRICT OF VIRGIN IA

                                     DANVILLE DIVISIUN




Jerry Lee Hairston,pro se

       Plaintiff.




                                                 :;bHcuoooon
                                         case No.:

V.
Steve .Draper,et al
Sheriff of M artinsville
City Jail

     Defendant
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                                    COM/LAINT w ITH JURYDEMAND

                                               INT ROD U CTIO N
Come now PlaintiffJerry Lee Hairston,pro se a Patientatthe Virginia Center forBehavioralRehabilitation,for
com pensatory damagesreliefunder 42 U.S.C. 1983 alleging he w as a civildetainee,w ithoutcrim inalcharges,nor
probation orparoleviolation,illegall
                                   y detainedingeneralpopulation ofthe M artinsville Jailontwo occasions,a
totalof16 months,constituted crueland unusualpunishm entcausing Hairstontofearforhissafety,suffered
mentalandemotionalanguish,andmisery,and physicalinjuresintwoassaults,wasaviolation ofthe Eighth
Amendm entto the United States Constitution.

Hairstonwascivildetaineepursuantto37.2-900etseq,ofVirginiaSexuallyPredatorsAct(VCBR).Hairstonhasa
IegitimateIibertyinterestin beingdetainedsomewhereotherthantheMartinsvilleCityJailandthejailwas
w ithout Iegalauthority to hold him .

TheVirginiaCenterforBehavioralRehabilitation(VCBR),oranyothersecurefacility,skilledintreatmentandrisk
assessm entofsexogendersand notM artinsvilleCityJailistheIegalentitystatutorilyand con-           stitutionally,
authorizedtoholdan(SVP)civildetaineeinVirginia.ConstitutionallytheSVPAisanon-punitive,civilcommitment
statue;being keptin thejailforthatIongperiod intime ingeneralpopulationwaspunitive,aviolationoftheFif'
                                                                                                     th
Am endm ent'sDue ProcessClause,the EighthAm endm entsRightsto befreeofcruelandunusualpunishm ent,and
harm ,theSixthAm endm entRi ghttoCounsel ,aIIofw hichcom to thestatesthroughthe FourteenthAmendm ent
EqualProtectionClause.Hairstonw asdeprivedofhisliberty,harm ed physically,and deprived ofcounselwithout
PrOCOSS.


                                          I JURISDICTION
1.TheCourthasjurisdictionoverthe plaintiff'sclaim ofviolationoffederalconstitutionalrightsunder 42U.S.C.
1331(1)and1343.
2.TheCourthassupplementaljurisdiction overtheplaintiff'sstatelaw tortclaimsunder28 U.S.C.1367 inthatthis
actionseekto redressthe deprivation,undercolorofstate Iaw ofrightssecuredbytheActsofCongressproviding
forequalrightsofperson within thejurgsdictionoftheUnitedStates.


                                                 11PA RT IES
3.The plaintiffwasdetained in the M artinsville City Jailduring the eventdescribed in thiscom plaint,hew as a civil
detaineeduetotheCoreofVirginia37.2-913oftheSexuall
                                                 yViolentPredators(theAct).


4.Defendants Timothy L.W ood and M ichele A.W hitlow,are Probation Parole Officersw ith District#22 in
M artinsvilleVirginia,theyaresued in theirindividualand officialcapacities.32BridgeSt.,Suite300,M artinsville,
Va.24114




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    !
    1                                                                                                         :
    1   5.DefendantsTonyaHairstonand RobinAcco'rdareClassificationSergeantsatthe Martinsville CityJail, they are
        sued intheirindividualand officialcapacities.55W .ChurchSt.,M artinsville,Va.24114.

        6.Defendants M .Spenceand Davisare both CaptainsoftheM artinsvilleCi
                                                                           tyJail.Theyaresued intheirindividual
'
        andofficïalcapacîties.55 W .Church St.,M artinsville,Va.24114.

        7.DefendantsJam esStew ard andJackBarberareCom missionersand Interim Com m issionerofthe Departm entof
        BehavioralHealthandDevelopmentalService,(DBHDS),theyaresuedintheirindividualcapacities.P.O.Box1797,
        Richmond,Va.23218-1797.

        8.Defendant W illiam E.W inters,Jr.,Assistantinthe OfficeoftheAttorneyGeneral,issuedinhi
                                                                                               sindividualand
        officialcapacities.900 E.M ain St.,Richm ond,Va.23219.

        9.DefendantDorisE. Nevins isaClinicalPsychdlogistdesignatedbythe DBHDSforam entalhealth exam ination
        issued inherindividualand officialcapacity.3245ElectricRd.,Suite1-A,Roanoke,Va.24018.

        10.Dennis R.CarpenterisaClinicalPsychologistdesignated bytheDBHDSforam entalexam inationissued inhis
        individualandofficialcapacity.TheW estw ood Group5821StaplesM illRd.,Richm ond,Va.23228.

        11.Steve Drajer,SheriffofM artinsville CityJail,issued inhisindividualandofficialcapacity.55W .Church St.,
        M artinsville,Va.24114.

        13.AIlthedefendantshaveacted,and continuetoact,undercolorofstateIaw ata1Itim esrelevanttothis
        com plaint.

                                                         IIIFACTS


        l4.OnJanuary20,2016,Timothy L.W ood,ChiefProbation OfficerofDistrict#22,signed apetitionfora
        EmergenceCustodyOrderaccusingHairstonofviolatinghisSexOffenderSpecialInstruction,Clpositi
                                                                                                ve(Drug!
        Test),andLlRemovingGPSI...HedidnotaccuseHairstonofviolatinganycriminalstatueswithintheCfodebf
                                                                                                    t
        Virginia.'Note''HairstonwasnotonparoleorProbation.(SeeEXHIBIT-A,E.C.O.PetitionJanuary20,2016).
        15.PursuanttotheEmergencyCustodyOrderauthorizedbyMagistrateJoey Robinett inMartinsville,Va..(See
        EXHIBIT-B,E.C.O.,Jpnuary20,2016).TimothyL.WoodcommandedthatHairstonbearrestedand,mustremainin
        custody pendingahearingin theCircuitCourtofM artinsvilleVirginia.

        16.Tim othy L.W ood orderthatHairjton betakentotheM artinsvilleCityJail,afterhisarrestforam ental
        examinationbySteveW olf,Ph.D.w ho hasbeen designated byDBHDS.

        17.Hairston was placed in punitive restraintsby A.T.F.Police OfficersonJanuary 21,2016,and treated Iike a
        com m on crim inal,andtakento the M artinsvilleCityJail.                                          ' '

        18.Hairstonviolatedhisconditionalrelease,andpursuanttoSection37.2-913(8)shallbetransportedtoasecure
        facilityspecified bytheDepartm entwhereaperson designated bytheDepartm entwhoisskilled inthe diagnosis,
        treatment,and risk assessm entofsex offenders.

        19.On the E.C.O.,Tim othy L.W ood com m anded to take custody ofHairston and transporthim to the
        (Evaluationsitename)MartinsvilleCi
                                         tyJail55W .ChurchSt.,Martinsville,Va.,fortheCodeofVirginia



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    37.2-913 evaluation.The blankIine on the form wasfilled in byTimothy L.W ood instructingthe
    M artinsville CityJailto keep Hairston in theircustody,pending a hearing in the CircuitCourtof
    Martinsville,instead ofdelivering him to the DepartmentorVirginia CenterforBehavioralRehabilitation
!
I
.
    (VCBR),whoseaddressis4901E.PatrickHenryHwy.,Burkeville,Va.23922.
    This istrue on inform ationand belief.

    20.Asa resultofthe custody ordercomm anded byTim othy L.W ood,Hairstonw ho violated no Iaw and
    com mitted no crim e,nordid he have any parole orprobation,wasarrested and putinto a punitive
    environmentofthe M artinsville City Jail.

    21.On January 21,2016 Hairstonwasplaced in a holding blockthis isw here crim inalsare housed w hen
    comingintothejail,awaitingbailorto beclassifiedintothejail.Iwasheldinthisholdingblockalmosta
                   .        '

    week,Captain Spence knew she had som eone in hercustody undera E.C.O.,fora mentalexam ination,
    and transportationto asecure medicalfacility.

    22.TheE.C.O.statesthe reason forbeing inthejailpursuanttoSection37.2-913,SVPA.Yetshe
    allowed Hairston to be in generalpopulation with dangerousfelonsand convicted felonéinviolation of
    theCodeofVirginia37.2-909(A),37.2-831,and37.2832.CaptainSpencetooknoactionto haveHairston
    transported to VCBR,orno othersecure medicalfacility,know ing thatHairston had notbeen charged
    with a crim e,norhad he violated parole orprobation,which he did nothave.

    23.On oraboutJanuary 26,2016Classification SergeantTonya Hairston assigned Hairston to CellBlock
    #2 a six m an blockw hichw asovercrowdéd with eightpeople in there,Hairston havingto sleep on the
    floor,in generalpopulationwith dangerousconvicted felons.Hairston wasnow '   being detained inthe
    M artinsville CityJailwithoutviolatingthe Iaw and comm itted no crime,nordid he have parole or
    probatipn,buthere he wasinthispunitive environm ent...ofgeneralpopulation.

    24.OnoraboutFebruary26,2016DorisE.Nevin ,Ph.D.cameto thejailforaClinicalInterview with
    M entalStatusExam ination,she becam e the doctordesignated bythe DBHDS .Hairston expressed his
    m entaland emotionalstate ofbeing detaïned inthe CityJail'sgeneralpopulation.She done nothing to
    correctorreportthismatterofHairston beinginapunitiveenvironment.Knowingfullwellthatiis
    being a civildetainee,he idnotto be in a punitive situation.Butinstead she referred to Hairston asan 'f
    I'
     nm ate at M artinsville City Jail.''

    25.JamesSteward,Com m issionerandJackBarber,M .D.,Interim Com missioner,in Pursuantto Code of
    Virginia32.2-913(A),acopyofthepetitionandEmergencyCustodyOrdershallbeforwardtothe
    DBHDS,the Comm issionerorInterim Com missionerdid nothing to correctthe punitive situation of
    beingheld inajail,whenthecivilcommitmentishottobepunitive.
    26.W illiam E.W inters,Jr.,Office oftheAttorney Generalalso geta copy ofthe petition and this
    Em ergencyCustody Order.Hairston appeared in courtAugust24,2016 afterhishearing *asputofftwo
    orm ore times,and W interswasaw arethatHairston had been inthe M artinsville City Jailthe w hole
    tim efrom Januaw 21,2016 untilAugust24,2016.




                                                        3
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    27.Hairstonwas reinstated to conditionalreleaseonAugust24,2016,buthe remained inthe gqneral
    populationofthejailuntilNovem ber10,2016andW intersstilldid notcorrectthe punitivesituation,
1
I   knowingthatHaïrstonshould nothavebeenhousedingeneralpopulation ofthejail,whenhe had not
    com m itted a crime,and wzsonly a civildetainee,non-punitive.

    28.Hairston was released Novem ber10,2016 to condition release,buthe violated again by using drugs.

    29.OnDecember25,2016M icheleA.W hitl    ow,(Monitor)signedapetitionforan EmergencyCustody
    Orderaccusing Hairstonofviolating hisSexOffenderSpecialInstructions,C(Positive (Drug)Test).
    M agistrate Bonnie R.Bowm an in M artinsville Virginia issued the E.C.O.,and wasordered to be arrested
    and,rem ain inthe custody ofthe M artinsville CityJailpending a hearing in the CircuitCourtof
    M artinsville.

    30.OnDecember25,2016M icheleA.W hitlow,(Monitor)andMartinsville PoliceOfficersplaced
    Hairston in puniti
                     ve restraintsIike a com mon criminal,and took him to the M artinsville City Jail.Again
    Hairston had notviolated any Iaws,comm itted no crime,nordid he have any parole orprobation.
    M ichele A.W hitlow,with M artinsville Police Officerstook Hairstonto the CityJail,butgave qo
    instructionsconcerningHairstonbeingacivildetaineepursuanttoSection37.2-9094A),thathe should
    be segregated bysightand sound ataIltimesfrom prisoners in the custody ofacorrectionalfacility,as
    wellasnotbeing placed in a puni
                                  tive environment.

    31.Hairston's E.C.O.com manded thathe rem ain in the custody ofthe M artinsville City Jailpendinga
    hearing held in the CircuitCourt ofM artinsville,thathe have a m entalhealth exam ination by a doctor
    designated by DBHDS,a blankIineonthe EmergencyCustody Orderwasfilled in by M ichele A.W hitlow
    instructingthe M artinsville Ci
                                  tyJailto keep Hairston in theircustody instead ofdelivering him to the
    DBHDSorVCBR,thisresultsplaced him inapunitiveenvironmentinthecityjail,whenhewasnoton
    parole oron probation,and had no com m i
                                           tted a crimç.Thisïstrue on'inform ationand belïef.

    32.Hairston was placed in a single m an cellatHairston'srequestforfearofbeing putbackingeneral
    population because ofhispastsexoffense.W hile inthe cellHairston became deeply depressed about
    being backinthejail.Hairstonattemptedsuicide,buthewasdiscoveredbyl#ilerW ilson,herepprted
    thisand Hairstonw asplaced on strip celluntilhe wasseen by a Psychologistfrom PiedmontCom m unity
    Services,afterseeing him Hairston wasputback in the single cell.UntilLt.Prestontold Hairstonthathe
    need that cell,so packyourthingsI'm 'moving you to a block.

    33.On oraboutDecem ber28,2016 Classification SergeantRobin Accord assigned Hairston to CellBlock
    #1,a six man blockwhich wasovercrowed with eightpeople,Hairston's bunkwason the floor,in' .

    generalpopulation with dangerousconvicted felons.Hairston wasnow being detained inthe
    M artinsville CityJailwithoutviolating the Iaw and comm itted no crim e,nordid he have paroleor
    probation,bqthewasinjail,apunitiveenvironment.ClassificationSergeantRobinAccordassigned him
    towhattheycallthedarkside,aIIcellblocks,forpeopleinthejailwithaviolentoffenseorhavetoo
    m uchtime to be placed in the dorm .




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              ,
              e                    Captain Davisallowed Hairston.to be placed in generalpopulation
                                   .

 withdangerousconvictedfelonsinviolationofCodeofVirginia37.2-9094A),37.2 831,and 37.2-832.
                                                                             .
                                                                                 -


 Captain Davistook no actionto have Hairstontransported to WVBCR''# orno othersecure facility,
 knowing thathe had notbeen charged w ith a crim e,norhad he violated paroleorprobation,w hich
 Hairston did nothave.

 35.OnJanuary 27,2017 Dennis R.Carpenter, Psy.D.,wasdesignated bythe Com m issioner,he came to
 the M artinsville CityJailwhere he observed Hairston in the dangerouspunitive environmentand then
 interrogated him underthose condition instead ofaclinicalsetting .Hairston expressed to Carpenter
 thathecouldnottakebeïnginthejailagain,and hewasawareofHairston'sattemptatsuicideandthe
 emotionaland mentalstate ofdeep depression he wasal   w aysin.Carpenterwhile acting asan agentfor
 the Office ofthe Attorney Generaldone nothingto correctorreportthism atterofHairston being in the
 punitiveenvironment,See37.2-913(8).
 36.On M ay 8,2017 Hairstonw entto courtand wascom m itted backto ''VCBR,'yethe rem ained in the
 generalpopulationofthejailuntilJune8,2017.W interswasinthecourt,and knew Hairstonhadbeen
 inthejailfortheIastsixmonthswithoutbeingchargedwithacrime,and allowed him tostayinthe
 punitive enviro'
                nm ent.

 37.W hile Hairstonwasbeingconfined inthejail,iewashoused inthe section ofthejaïlthatcalledthe
 darkside,which are overcrowed cellblockthatism adeforsix men,butnow house up to nine men,
 three ofthem sleeping on the floor.

 38.The difference ofthe sidesisthatthe otherside isdorm Ii
                                                          ving,and fornon-violentoffendèrs,-
                                                                                           that
 have a ver'
           y sm allam ountoftime,ifany.
                                                                                             :
 39.Hairstonwasclassi
                    fiedasaviolentoffenderintothejail,beingassignedtoCellBlock#2inJanuary
 of2016.W hile inthe block Hairston had aproblem with one ofthe inm atesthatIearned ofhispastsex
 ofense.Hairston requested to move to avoid a problem.AprilorM ay of2016,he wasm oved to cell
 block/M ,w here he bunked onthe floor.

 40.A bully was moved in the. four block shortl y afterHairston,and targeted Hairston.W hile playing
 cardsone dayAugustthe guy attacked Hairston;Hairstonw entto courta few daysIateron August11,
 2016,w hile outofthe blpck Hairston reported w hathad happen in the block,he wasm oved thatsam e
 dayto cellblock#1,where he wasbunked on the flooragain.

 41.Hairston rem ained in thisblock untilanotherinm ate wanted to fightHairston,som ew ordswere
 exchanged and the inm ate tried to slap Hairston,Hairston wasfprced to defend him self.AfterHairston
 wasm oved outofthe blockand putin the Iock up blockof Cell Block#5,w here he was keptafew days,
 andthen movedto thedorm wherehewashouse overnight and releasedfrom thejailthefollowing
 day Novem ber10,2016,and even inthe dorm Hairstonslepton the floor.                        '
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                                   IV CLAIM S FO R R ELIEF


42.TheDefendantsWoodandWhitlow,failedtofollow thestatuteof37.2-91348),asagentsofthe
courtsitistheirduty to know the processthatisdue,and carry itoutto the Ietter,which states ''the
RespondentHairston)shallbetransportedtoasecurefacilityspecifiedb#theDepartment.''Notbeing
aware ofthe processdue isno excuse.Constitutionally theSVPA isa non-punitive,civilact,and nota
criminal. AuthorizingthatHairstonbe held incustodyatthejailwasdone byW ood andW hitlow,not
the Departm ent.No hearing ofany kind wasperform ed forHairstonto be in the punitive environment
ontwo occasionstotalof16 m onths withouta crim inalcharge,norhad he broke any Iaws,wasa
violationoftheFourteenthAmendmenttotheUnitedStatesConstitution.Defendantsalsoviolatedtle
EighthAmendmentwhentheydirectedthejailto keepHairston,whichcometo bepunishment,cruel
and unusualinflicting m entàlanguish and m isery,violatingthe Eighth Amendmentto the United States
Constiyution.

43.ThefailureofM.SpenceandDavis,(bothCaptainsofthejail)toinvestigatethecustodyofan
individqalintheircustodyduetoanEmergencyCustody Order in pursuantto37.2-913,where (B)of
the section inform whoeverhasplaintif'fin custody,thathe isthere fora m entalhealth exam ination and
to be transported to a securefacility,thathe isalso a civildetainee pursuantto 37.2-900 and the
proceduralprocessisthatsection 37.2909(A)be imposedonplaintif'
                                                             f.''Respondent committed under
thischaptershallbe segregated by sightand sound ataIItimesfrom prisoners in the custodyofa
correctionalfacility.''Thatthe SVPA wasnon-punitive,and housing plaintiffin generalpopulation would
be considered punishm ent. Failure to follow due care and proceduraldue process,constituted a
violation ofthe Fourteenth Am endm entto Uni ted StatesConstitution.

44.The DefendantSteve Draper,SheriffofMartinsville City Jail,dutiesofa Sherif'
                                                                             finclude the dutyto
assistinthejudicialprocess,andtooverseethecustodyofprisonersinthejail,andenforcetheIaw.
Sheri
    f'fDraperfailed in providing Hairston the procedure ofdue process,by allowing Hairston to be kept
in generalpopulation onan Emergence Custody Order,withouta crim inaloffense.Hairston wasin
custody fora m entalexam ination,and transpprtation,nam elyto ''VCBR.''Sherif'
                                                                             fSteve Draperviolated
anumberofstateIaws,37.2-9094A)''Placementofcommitted respondentsz''37.2-831''Detentionin
jailafterorderofadmissionand 37.2-832''Personwi
                                              thmentalillnessnotto beconfined incellwith
crim inals.''Keeping Hairston in the punitive environmentconstituted a violation ofdue process,ofIaw in
violationofthe FourteenthAm endm entto the Constitution,deliberate indiserence,ofcrueland
unusualpunishmentin violation ofthe EighthAm endm entofthe United StatesConstitution.

45.The DefendantAccord and Hairston,failed to perform a m entalhealth screening on intakew hen
Hairstonwasplaced in theircustody,due to an Em ergency Custody Order.The orderca'     lled fora mental
health exam ination,and transportation to a secure facili
                                                        ty.Based on the E.C.O.,which clearly outline a
m entalillnessissue,defendantsfailure to actresulted in Hairston being housed in generalpopulation,
and notapartfrom the inmates in generalpopulation,violated hisconstitutionalrightswhich was
deliberate indifference ofcrueland unusualpunishm entinviolation ofthe Eighth Am endm entofthe
United StatesConstitution.
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46.ThefailureofDefendantWilliam E.Winters,Jr.,toactandinterveneoniisknowledgeofplaintiff
being held in the custody ofthe CityJailpursuantto 37.2-913.W interswasaware thatthe plaintiffwas
acivildetàineepursuantto37.2-913(8),andthattheproceduralprocesswastofollow theCodeof
Virginia37.2-9094A)tö beenforcedonplainti
                                        ff,''segregate bysightandsoundataIItimesfrom
prisonersin the custody ofa correctionalfacility.''W intersknew the plaintiffwasnotto be in a punitive
environmentpursuantto 37.2-900 etseq,thatthe SVPA wasa non-punitive,civilcom m i     tmentstatute.
W intersviolated plaintiff's Fifth and FourteenthAm endm entto the United StatesConstitution,àswell
ascrueland unusualpunishmentofnotinterveningto plaintiffcontinuedcustodyofthejail,violited
the Eighth Am endmenttothe United statesConstitution.

47.Thefailure ofDefendant Jam esStew ard,Com m issionerand Jack Barber,lnterim Com missionerto
actand intervene on theirknowledge ofa known and forsee able substantialriskofseriousharm to the
plaintiffbeinginthepuni
                      tivedangerousenvironment ofthecityjail,violated hisEighthAmendment
Rightto be free from deliberate indifference to hissafety and mentalhealth needs.Asa resultof
DefendantSteward and Barberfailure to act,plaintiffwasdeprived oflibertyand suffered psychological
im pactofemotionaldistressal  so a violation ofthe EighthAm endm entto the United StatesConstitution.

48.Thefailure of Defendant DorisE.Nevin and Dennis R.Carpenter,Psychologist,designated by
DBHDSto pedorm thementalhealthexamination.Theyowed plaintis adutybfreasonablecarèto
protecthim from harm ,plaintiffexpressed to the psychologisthism entalemotionaldistressofbeing
confined inthepunitiveenvironmentofthecityjail,they did notactortrytointervene.Theirdisregard
ofplaintiffconfïnem entwasdeliberate indifference,which farthercaused the infliction ofthisem otional
and m entaldistressto continue inviolation ofthe Eighth Am endm entto the United StatesConstitution.

49.Thefailure of C.Preston, Lieutenant ofthe CityJailto Iookinto the statusofplaintiffsreasonfor.
beingdetained inthejail:Moving plaintiffto dangerouspunitiveenvironmentofgeneralpopulationwas
an om ission ofproperattentionto an individualincustody on an Em ergency Custody Order,form ental
healthexaminaiion,andtransportation.Thefailureand actionofDefendantputplainti
                                                                            l inasubstantial
riskofseriousharm ,thisviolated hisEighthAm endm entRightto be freefrom deliberate indiffefence to
hissafety.Asa resultsofDefendant'sactions,plaintiffsuffered seriousm entalanguish and m isery,as
w ellasfearcontinued violationofthe EighthAm endm entto the United statesConstitution.

Pursuantto 28 U.S.C.1746Ideclare underpenaltyofperjurythatthefollowingistrueand correct.
Date:       2.1n
Jerry Lee Hairston                                                            Signature -

4901 E.Patrick Henry Hw y.

Burkeville,Va.23922
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                                    V RELIEF REQUESTED

  W HEREFORE,plainti'
                    ffrequest thatthecourtgrantthe follow ing relief:

A.Award com pensatory dam agesinthe following am ount:

  1.$200,000jointlyandieverallyagainstdefendants:Steward,Barber,and W intersshowingdeliberate
indigerenceto plaintiff'ssafetyresultinginphysicaland emotionalinjuriesasa resultofdefendants
failure to protectand being deliberate indifference to plaintiffsafety and mentalhealth.

  2.$100,000jointlyandseverallyagainstdefendants:Draper,W hi
                                                           tlow,andW oodfailureto carr'
                                                                                      yout
proceduraldue process,asa resul
                              tplaintiffwasdeprived ofhisIiberty and amenity by being confined in
a punitive dangerousenvironment.

  3.$50,000jointlyandseverallyagainstdefendants:Spenceand Davisfailingto applythe proper
proceduressafeguardsfora civildetainee intheircustody,asa resultplaintiffwasconfined in a
dangerous punitive environmentwith convicted felons.

  4.$30,000jointlyand severall
                             y against defendants:NevinsandCarpentertheyowed plaintif'
                                                                                     faduty
ofreasonable careto protecthim from harm ,and in showing deliberate indiserence plaintiffsuffered
em otionaland m entaldistress.

  5.$20,000jointlyandseverally againstdefendants:Preston,Accord,and Hairstonfailedintheirduty
to protectand separate acivildetainee from being placed inthe punitive environmentofgeneral
population,asaresultplaintiffIived infearsufferingmentalandemotionalinjury.
B.Award punitive dam agesin the following amount:

  1.$30,000eachagainstSteward,Barber,andW inters.
  2.$30,000eachagainstW ood,W hitlow,andDraper.
  3.$20,000eachagainst Nevins andCarpenter.
  4.$20,000each against Spence andDavis.
  5.$10,000each against Accord,Hairston,and Preston.
c Gronts,.
  .      rko#kv rJ,JC.S.#-= yolenejjt'
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Jerry Lee Hairston

4901 E.Patrick Henry Hwy.                                              Date

Burkeville,Va.23922                            Respectfullysubmiued: z L




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